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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 Marian Ryan, et al.,                            )
_________________________________                )
                                                 )
                                                 )
              v.                                 )                      1:19-cv-11003-IT
                                                              C.A. No. ______________
U.S. Immigration and Customs                     )
                                                 )
Enforcement, et al.,
_________________________________                )
                                                 )
                                                 )

                                    NOTICE OF APPEAL
                                   ICE, Matthew Albence,
                                   Todd Lyons, DHS, and
                                   Kevin McAleenan
       Notice is hereby given that __________________,      Defendants
                                                       the _____________ in the above-

named matter, hereby appeals to the United States Court of Appeals For the First Circuitfrom
     preliminary injunction                                   June 20, 2019
the _______________________       entered in this action on _________________.



                                                           Respectfully submitted,


                                                              /s/ Julian Kurz
Date: August 16, 2019
                                                           (signature)
                                                           Print name & address:
                                                           Julian Kurz, Trial Attorney
                                                           U.S. Department of Justice
                                                           P.O. Box 868, Washington, DC 20044

                                     Certificate of Service
            Julian Kurz
       I, ___________________, certify that I have caused a copy of this Notice of Appeal to be
                        counsel for Plaintiffs
served by ECF to ______________________________ (recipient)), at
 counsel's registered email addresses                      August 16, 2019
___________________________________________ (address) on _________________ (date).

Date: August 16, 2019                                        /s/ Julian Kurz
                                                           ___________________________
                                                           (signature)
                                                           Print name: Julian Kurz, Trial Attorney
                                                                         U.S. Department of Justice
